

Matter of Braverman v Kaplan (2021 NY Slip Op 05073)





Matter of Braverman v Kaplan


2021 NY Slip Op 05073


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Acosta, P.J., Singh, Kennedy, Mendez, Higgitt, JJ. 


Index No. 306221/11 Appeal No. 14235 Case No. 2021-02161 

[*1]In the Matter of Eric R. Braverman MD, Petitioner,
vHon. Deborah A. Kaplan, Respondent.


Eric R. Braverman, petitioner pro se.
Letitia James, Attorney General, New York (Shawn Schatzle of counsel), for respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








